     Case 2:18-cv-05026-JAK-JPR Document 30 Filed 09/11/18 Page 1 of 3 Page ID #:374



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 5 Attorney for Blue Spike, LLC
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 8
 9                             UNITED STATES DISTRICT COURT
10                         CENTRAL DISTRICT OF CALIFORNIA

11                                   WESTERN DIVISION

12 BLUE SPIKE, LLC,                         Case No. 2:18-cv-05026-JAK-JPR
13                Plaintiff,                NOTICE OF VOLUNTARY DISMISSAL
                                            WITHOUT PREJUDICE
14          v.
                                            District Judge:   John A. Kronstadt
15 ASPIRO AB,                               Magistrate Judge: Jean P. Rosenbluth
16                Defendant.
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     Case 2:18-cv-05026-JAK-JPR Document 30 Filed 09/11/18 Page 2 of 3 Page ID #:375



 1          Plaintiff Blue Spike, LLC hereby files this Notice of Voluntary Dismissal
 2 Without Prejudice of Defendant Aspiro AB pursuant to Federal Rule of Civil Procedure
 3 41(a)(1). According to Rule 41(a)(1), an action may be dismissed by the plaintiff
 4 without order of the court by filing a notice of dismissal at any time before service by
 5 the adverse party of an answer. Defendant has not yet answered the Complaint.
 6 Accordingly, Blue Spike, LLC voluntarily dismisses Defendant without prejudice
 7 pursuant to Rule 41(a)(1).
 8
 9 DATED: September 11, 2018                   Respectfully submitted,

10
11                                             /s/ Jeffrey Francis Craft
                                               Jeffrey Francis Craft SBN 147186
12                                             jcraft@devlinlawfirm.com
                                               DEVLIN LAW FIRM LLC
13                                             1306 N. Broom St., 1st Floor
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15
                                               Attorneys for Plaintiff Blue Spike, LLC
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17          Pursuant to Local Rule 5-4.3.4, the filer of this document attests that all of the
18 signatories listed, and on whose behalf the filing is submitted, concur in the filing’s content
19 and have authorized the filing.
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                                                1             NOTICE OF VOLUNTARY DISMISSAL
     Case 2:18-cv-05026-JAK-JPR Document 30 Filed 09/11/18 Page 3 of 3 Page ID #:376



 1                                 CERTIFICATE OF SERVICE
 2          I hereby certify that I electronically filed the foregoing with the Clerk of the Court
 3 using the CM/ECF system which will send notification of such filing to the Electronic
 4 Service List for this case.
 5 Executed on September 11, 2018.
 6                                              /s/ Jeffrey Francis Craft
 7                                              Jeffrey Francis Craft SBN 147186

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                                                Attorneys for Plaintiff
 9                                              Blue Spike, LLC.
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                                            2                  NOTICE OF VOLUNTARY DISMISSAL
